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                                                                          FSLED

      Arshavir Shaldjian
      2525 Tawns~ate Road, Suite 330                                0~8MAR 14 tM T ~0
2     Westlake Village, Cali~arnia 9I3~1                           2              ~ c t;~
      ~elephpne: 805-267-1260
3     Pra Se Litigant
                                                                    `"    t-~           ~..
4                                                                   ~~:
5
                                  ONI'~~D STA'.~ES 17ISTRSCT CC>URT
6
                           FC>R TBE C        ~tAL 13ISTRICT C1~` CAI,IF~RNIA
7
                                           WESTERN DIVISION
8 '
                                                                      ~~
    ANDRES RAMIREZ, as an
9 ' individual,                                     CASE NO. 17-Cv-0$ S~ JAK (SSx)

10                    Plaintiff,                    How. John A. Kronstadt
                                                    Magistrate Judge Suzanne H. Segal
11     vs.
                                                    D~E'ENDI4NT ARSHAV:IR SHALDJ'IAN'S
~a   C~TX d~' LOS ANGELES, a                        ANSW]:R; DEMI4ND FUR JURY '~rnr-
     ~nun~~pal cc~rpara~i~n, LDS
13 ' AN~EL~S PC?LTCE BEPARTMENT, a                  Action Filed: November 27, 2017
     public entity, CHIEF CHARLIE                   Trial Date: None Sit
14' ~3ECF4r in his official
      GapaCity, OFF'IC~R HECTQR
15 C~RTEZ, individually and in
     his aficial capacity as an
16 Police t~fficer, C7FFICER
     A~RSHIVIR SHALDJIAN [STC], as
l7 an inriividual and his official
                                                                                              ..
     capacity as an Police 9fficer,
18 OFFICER DANIEL HUGHES
                                                                                              ~
                                                                                              '
     individually and in his
19 ' official capacity a~ an Police
      ~iffic~r, ALLEN SARK~~YAi~, as
2Q an individual, L~~1C7N
      ARUSHANYAN, as an individual,
zl    and DOES 1-50.
22                    Defendant.
23
                                                     ANS   R
24
              Defendant ARSHAt7IR SHAI:,D~7TAIV as and for hi.s Answer to the
zs
       C^P.':p 1 a i n~ ~tatc~~ ~~ fc7l. 1_c~w~ ,
26
              1.      In anscaer to ~a~-agraph 1, answering Defendant admits the
27
      ' allegations therein.
28


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                DEFENDANT ARSHAVIR SHAZDJIAN'S ANSWER; DEMAND FAR JURY TRIAL
     Case 2:17-cv-08580-JAK-SS Document 46 Filed 03/14/18 Page 2 of 19 Page ID #:296




1           2.   In answer to Paragraph 2, answering Defendant admits the

2     al~egatia~s thexein.

3           3.   In answer to Paragraph 3, answering Defendant is without

4     su~fic~ent knowledge or in~ormatinn to dorm a belief as to the

5     truth of aI1 allegations contained in such paragraph, and on that

6     basis, answering Defendant denies each and every allegation

7     contained in Paragraph 3,

8           4.   In answer tQ Paragraph ~, answering Def~nd~nt xs without

9     su£ficen~ knowledge ~r in~a~~at~on to form a belief as to the

10    truth o~ all a~legat ans contained i~ such paragraph, and an that

11    basis, answering Defendant denies each and every allegation

12    contained in ~'aragraph 4.

13          5.    In answer t~ Paragraph 5, answering Defendant is without

14    sufficient knowledge or information tc~ form a belief as to the

15    truth. of all al~.~gat ons contained i~ such paragraph, and on that

16    basis, answering Defendant denies each end every allegation

17    contained in Paragraph 5.

18          6.    Tn answer to Paragraph b, answeriraq defendant is without

19    sufficient knowledge ar      nformatir~n to form a belief as to the

20    truth ~f ~lI al~ega~ions contained in such paragraph, and on that

21    basis, answering Defendant denies each end every allegation

22    contaa.ned in Paragraph 6.

z3          7.    In answer ~.o Paragraph 7, answering Defendant is without

24    sufficient knowledge car information to farm a belief as to tYte

25    truth a£ all allegations contained in such paragraph, and an that

26    basis, answering Defendant denies each and every allegation

27    cc~ntain~d i.n Paragraph 7.

28          8.    In answer to Paragraph 8, answering Defendant is without


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             DEFENDAN~" ARSHAVIR SHALDJTRN'S ~NSG+?ER; DEMAND FOR J'UFtY TRIAL
     Case 2:17-cv-08580-JAK-SS Document 46 Filed 03/14/18 Page 3 of 19 Page ID #:297




     ~~ufticient knowledge ar information to form a belief as to the

      truth of all allegations c~n~a~ne~ in such paragraph, and on that

      basis, answering Defendant denies each and every allegation

      contained in Paragraph 8.

            9.    In answer to Paragraph 9, answering Defendant is without

      sufficient knowledge or in~ormati~n to ~~rm a belief as to the

      truth ~~ alb alb gatigns ~~nta~~ed in such paragraph, and on that

      basis, answering Def~nd~nt ~~nies each and every allegation

      c~nt~ nod in Paragraph 9.

10          I0.   In answer to Paragraph I0, answering Defendant is

11    w ithout    uf£icient kr~awle~ige car infcarmation tc~ farm a belief as to

12    the truth of alb allegations contained in suc3~ paragraph, and on

l~    that basis, answering Defendant denies each and every allegation

14    contained in Paragraph 14.

I~          11.    In answez to F~z~graph 11, rya factual allegations are

lb    made therein and on that basis the paragraph go~:s unanswered.

I7          12.    In answer to Paragraph 12, this paragraph incorporates

1$    by reference the allegations of other paragxapl~s ~f the pleading;

19    as such, in respflnse to this paragraph answering Def~n~iant

20    incorporates by reference here this answering Defendant's answers

~~    to each and every one of the corresponding and aforementioned

22    allegations and paragraphs contained .n Plaintiff's Complaint.

23          13.    In answer to Paragraph 13, answering D~fezzdant is

24    without sufficient knowledge or in~c~rmation tta farm a belief as to

2S    the truth of all allegations c+~ntaineci in such paragraph, and on

26    that basis, ans~rering Defendant d~nie~ each and every allegation

27    contained in Paragraph 1~.

28

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             DEFENDANT ARSHRVIR SHALDJIAN'S ANSWER; DEMAND FOR JURY TRIAL
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l           14.   In answer to Paragraph ~4, answering D~fendan~ is

2      without sufficient knowledge ~r information to form a belief as to

3      tY~e truth of all allegations contained i~ such paragraph, and oz~

       that basis, answering Defendant denies each and every a1.legatian

5      cQn~ained in Paragraph ~4.

6           15.   In answer ~o Paragraph 15, answering Defendant is

7      without sufficient knowZed~e or information. to foam ~ belief as to

8      the truth of all allegations contained in sucYz paragraph, and on

9      that basis, answering Defendant denies ea~1~ and every allegatir~n

l0     contained in Paragraph 15.

11          16.   Zn answer to Paragraph. 16, answering Defendant is

12     without s~sfticien°~ knowledge or    nform~tien to farm a belied as tQ

13     the Muth of all allegat~c~ns contained in such paragraph, and an

14     that basis, answering Defendant denies each and e~rery allegation

15     contained in Paragraph 16.

16 '        17.   In answer to Paragraph 17, answering Defendant is

17     without sufficient knowledge or information to farm a belief as to

l$     the truth of all allegations contained in such paragraph, anal on

19     that basis, answering Defendant denies each and every allegation

20     contained in Paragraph 17.

2]          18.   Tn answer to Paragraph 1$, answering Defendant is

22     without suff.i~ient knawlecige or information to ~+~rm a belief as to

23     the truth cif ill. allega~tic~ns contained in such paragraph, and on
2~     that basis, answering Defendant denies each and even allegation

25     contained in Paragraph 18,

26          19.   In arasw~r to Paragraph 19, answering C~efendant is

27     without sufficient knowledge or information to form a belief as to

?8     the truth of all al.legati~n~ contained in such paragraph., and an


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             DEFEl~DANT ARSHA~7TR SI-IALDJIAN'S ANSWER; DEI~IAND FOR JURY TRTAL
      Case 2:17-cv-08580-JAK-SS Document 46 Filed 03/14/18 Page 5 of 19 Page ID #:299




 1     that basis, answering Defendant denies each and every allegation
7      contained in Paragraph 19.

3            20.   In answer to Paragraph 20, ans~~ring Defendant is

       without sufficient knowledge or information to firm a belief as to

5      the truth of all allegations contained in such paragraph, and on

6      that basal, answering defendant d~niss each and every allegation

7      contained in Paragraph 20.

8            22.   In answer to Paragraph ~1, answering Defendant is

9      without sufficx~nt know~~dge ar in£~r~aton to form a belief as to

10     the truth ~~ all alZegations contained in such paragraph, and an

11     that basis     answering Defendant denies teach and every allegation

12 ' contained ire Par~grapY~ 21.
13           22,    In answer to Paraga~aph 22, answering Defendant is

l4     without suf~iczent knowledge or information to form a belief as to

15     the truth of all allegations ~c~n~.~ined in such paragraph, and on

16     that.. basis, answering Defendant denies each and every al~.~g~tion

1'1    contained in Paragraph 22.

1$           23,    zn answer to Paragraph 23, answering Defendant is

19     without sufficient knowledge car information ~o form a b~Iief as to

2~     the truth of all allegations cont~ine~i in such paragraph, and on

21     that basis, answering De~end~nt denies each and every all~g~tion

22 ' contained in P~ragr~ph 2~.
z~           24.    In answer to Paragraph 24, answering Defendant is

24     without sufficient knowledge or information to farm a belief as to

25     the truth of all. allegations contained in such paragraph, and on

26     that basis, answering Defendant. denies each and even allegation

27     contained in Paragraph 24.

zg

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              DEFEND~IN'I' ARSHAVIR SHALDJIAN'S ANSWER; DEMAND E"OR JURY TRIAL
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1            25.   In answer to Paragraph 25, answering Defendant is

2      without sufficient knowledge or information to dorm a belief as to

3      tie truth of ail allegations contained in such paragraph, and on

4      that basis, answering Defendant denies each and every allegation

S      contai~d in Paragraph. 2~.

6            26.   In answer to Paragraph 26, answering Defendant is

7      without sufficient knowledge or information to form a belief a~ to

       the truth of all allega~i~ns contained in such paragraph, end on

9      that basis, answering ~ef~ndant denies ~acYi aid every allegation

10     contained in Paragraph 2~,

11           ~7.   In answer t~ Paragraph      7, answering Defendant is

12     without sufficient knowledge ~r infarmatian to form a belief as to

t3     the truth ~f all allegations contained in such paragraph, end on

14     that basis, ~.nswerir~g ~efendarat denies each and every allegation

15     contained in Paragraph 27.

1.6          28.   zn ansv~er to Paragraph 28, answering Defendant is

17     withput sufficient knowledge car anft~rmat on tc~ fQrm a belief as to

1$     the truth of ~1~. ~ll~c~atic~ns contained in such pa~agragh, and on

19     that basis, answering Defendant denies each and every allegation

20     contained in Paragraph 28.

2I           ~9.   In answer to Paragraph 29, answering I~e~endant is

z2     without sufficient knowledge or informatifln tc~ form a belief as to

23     the truth cif all. a1leg~tions contained in such paragraph, and on

24     that basis, answering Defendant denies each and every a1l.egation

25     can~ained in Pa~ag~~ph 29.

26           30.   In answer to Paragraph 30, ~r~swering Defendant is

z~     raithout sufficient knowledge or information to farm a belief as to

zs     the truth of all allegations contained in such paragraph, and on

                                             _~_
              DEFENDANT ARSHA~7TR SHALDJIAN'S ANSWER; DEMAND FOR JURY 'TRIAL
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1     that   ~&S15 r   answering Defendant denies each and every allegation

7     contained in Paragraph 30.

3            31.   In answez to Paragraph 31, answering Defendant i~

4     without sufficient knowledge or inf~rmatian to form a belief as to

5     the truth of all allegations contained in such paragraph, and on

6     that basis, answering defendant denies each and every allegation

7     c~n~ained in Paragraph 31,

             32.   In answer to Paragraph 32, this paragraph incarpdrates

9     by reference the all~gati~ns of Wither paragraphs of the pleading:

10    as such, in respans~ to this pa~ag~ap~ answering Defendant

1 1 ' incorporates by refer~nc~ hire this answering befendant`s answers
12    to each and every one of tYae corresponding ar~d aforementioned

I3    all~gatzons and paragraphs contained in Plaintiff's Complaint.

14           33.   In answer to Paragraph 33, answering Defendant i.s

15    wit~c~ut sufficient knQwle~ge or information to form ~ belief as to

16    the truth of all allegations contained iz~ such paragraph, and on

17    that basis, answering Defendant denies each and every allegation

1$    contained ~n Paragraph 33,

19           39.   In answer to Paragraph 34, answering Defendant is

2Q    without sufficient knowledge or information to farm a belief as to

21    the fi ruth ~f all allegations contained in such paragraph., and on

~2    that basis, answering Defendant d~ni~s each and every al.legation

23    contained in Paragraph 34.

za           35,   Paragraph 35 is not alleged against phis answering

25    F3efenclant and therefore this answering Defendant need not admit

26 ~(nar deny the allegations contained. in Paragraph 35.
27
28

                                            -~-
              DEFENDANT ARSHAVIR SHALDJ3AN`S ANSWER; DEMAiVD FOR JURY TRIAL
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1           36.   Paragraph 36 is not alleged. against this answering

2     Defendant and therefore this answezirag Defendant need not admit

3     nor deny the allegations contained in Paragraph 3&.

            37.   Paragraph 37 is not alleged against this answering

5     Defendant and therefore this answering Defendant need not admit

6     nor deny the allega~i.ons cc~n~~ined in Paragraph 37.

7           38.   In answer tc~ Paragraph 38, no factual a1l.~gations are

8     made therein and on ~tha~ basis the paragraph gees unanswered.

9           39.   In answer to Paragraph 3~, this paragraph incorporates

1Q    b y reference the allegatians of ath~r paragraphs of the pleading:

it    as such., in responses tQ phis paragraph answering Defendant

l2    in~orpc~ra~es bar r~fer~n~e here this answering Defendant`s answers

13    to eacY~ and every one of the correspc~nciir~g and aforementioned

14    allegatzons and paragraphs contained in Plaintiff's CQmp].aint.

15          40.   In answer tc~ Paragraph 40, answering D~fendar~t is

16    v~ithout sufficient knowledge or information to farm a belief as to

17 'j the truth of alb allegations contained in such paragraph, and on

18    ghat basis, answering i7efend~nt denies each and every allegation

19    contained in Paragraph 4C~,

2Q          41.   In answer to Par~c~raph 41, answering i~efendant is

21 ~ without sufficient knowledge or in~ormatian to form a belief as to

72    the truth Qf al1 allegations contained in such paragraph, and on

23    that basis, answering Defendant d~nie~ each and every allegation
24    cdnt~ined in Paragraph 4~1.

25          42.   In answer to Paragraph 42, answering Defendant is

                                c~ or ~.nform~~ion to form ~ belief as to
~6 ~ withaut sufficient know~ede~e

27    the truth of all allegations contained in such paragraph, and on

28


                                            -8-
             D~FENDANT ARSHAVIR SHALDJI,AN'S .ANSWER; DEMAND FOR JURX TRIAL
     Case 2:17-cv-08580-JAK-SS Document 46 Filed 03/14/18 Page 9 of 19 Page ID #:303




1     that basis, answering Defendant denies each and every allegation

2     contained in Paragraph 42.

3           43.   In answer to Paragraph 93, n~ factual allegations are

4     made ther~i~ and on that basis the paragraph goes unanswered.

            44,   In answer to Paragraph ~4, this paragraph ineorporat~s

6     b y reference the allegati~n~ of Qther paragraphs of the pleading,

7     as such, in respo~s~ to this paragraph answering Defendant

8     inGorporat~s by re~~rence here this answering Defendant's answers

9     to each and e~e~y one of the corr~spondin~ and aforementioned

10    allegations and paragraphs contained in Plaintiff's Complaint,

11          45,   ~n answer to Paragraph 45, including subparagraphs (a}

12    through (e), answering defendant is without su~~~cient knaw~edge

13    or information ~o forte a ~eli~f as to the Muth of all allegations

14    contained in such paragraph, and on that basis, answering

IS    Defendant denies each and every allegation c~ntain~d in Paragraph

1b    ~#5, including subgar~graphs (a) ~.Y~rough (~}

17          46.   In answer tc~ ~'~ragraph 46, ansvaering Defendant is

1$    without sufficient knowledge or information to firm ~ belaef as to

19    the truth of all allegations contained in such paragr~ph, and on

20    that bas~.s, answering Defendant denies ~a~h and every allegation

21    cantan~d in Paragraph 46,

2?          47.   Ire answer to Paragr~.ph 47, answering Defendant is

23 ~ Ewithout sufficient knowledge ar information to form a belief as to

24    the truth of all allegations contained in such paragraph, and on

2S    that basis, answering Defendant denies each and every allegation

26    contained. in Paragraph 47.

27          48.   In answer to Paragraph 48, answering Defendant is

28 ~fwithout sufficient knowledge or information to form a belief as to

                                            _ g_
             DEFENDANT ARSHAVIR SHALDJIt'~N' S AIJSWER; DEMAND FOR JURY TRIAL
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      the truth of a.11 allegations contained in such paragraph, and on

2     that basis, answering Defendant denies each and every allegation

3     contained in Paragraph 48.

4           49.    In answer t~ Paragraph ~9, answering Defendant is

5     without. sufficient knowledge nr information to dorm a belief as to

6     the truth ~f all allegat~~ns contained in such paragraph, end on

7     ~ha~ basis, answering Defendant denies each and every allegation

      contained in Paragraph 9~.

9           50.    In answer to Paragraph 5~, n~ ~~ctual ailegati4ns are

10     made therein and can that basis the paragraph goys unanswered.

1l           51.   In answer to Paragraph 51, this paragraph inearporates

12     by reference the all.egaticans cif other paragraphs of the pleadiflg;

13     as such, in response to this paragraph answering Defendant

14 ' incorporates by re~erenc~ here this answering Aefendant's answers

15     to each and euery one of the corresponding and aforementioned

16     all~gations and paragraphs contained in Pia n~tiff's Complaint.

17           ~2.   ~n answer to Paragraph 52, ~nsw~ring Defendant is

18 ' without sufficient knowledge ~r a~nforrnat~on ~a farm a belief as to

19 j the truth of all aileg~tipns contained i.n suGh paragraph, and on

20     that basis, answering Defendant ci~ni~s teach and every allegation.

21    ', contained in Paragraph 52.

22           S3.   In answer to Paragraph 53, answering Defendant is

23     w~ithaut sufficient knowledge or information tti form a belief as to

24 I the truth of all allegations contained in such paragraph, and on

25     that basis, answering Defendant denies each and every allegation

26     contained in ~~ragraph 53.

27           54.   In answer to Paragraph 54, answering Defendant is

28     without sufficient knowledge or information to farm a belief as to

                                            _ gy p_
              DEFENT3AA3T ARSHAVIR SHALDJIAN" S ANSWER; DEMAND FO~t JURY TRIAL
   Case 2:17-cv-08580-JAK-SS Document 46 Filed 03/14/18 Page 11 of 19 Page ID #:305




 l     the truth cif a.~1 allegat~.ons contained in such paragraph, and on

 2     that basis, answering L7efendant denies each and every allegation

 3     contained in Paragraph 54.

 4          55,   In answer to Paragraph. 55, answera.ng Defendant is

 5     without sufficient knowledge ar information to form a belief as to

 6                            c~
       the ~ru~.h of all allec~atic~ns contained .n such paragraph, and on

 7 E that basa.s, answering I7efendan~: denies each and every allegation

       contained in Paragraph 55.

 9 '        56.   ~n answer tQ Paragraph 56r answ~~ing Defendant is

10     without sufficient knowle~ir~e or information ~o £orm a belief as to

1 1 '~ the truth cat all allegations contained in such paragraph, and Qn

12     that basis, answering Defendant denies each and every allegation

13     contained in Paragraph 56.

14          57.   Tn answer tc~ Paragraph 57, ans~rering Defendant is

1S     without sufficient knowledge or information t~ form a belief as to

16     the truth c~~ ail a~legatians contained in such paragraph, and on

17     that b~si.s, answering Defendant denies each and every allegation

18     ~antained in Paragraph 57.

19          56.   ~n answer to ~?ara~raph 58, this paragraph ~ncarpora~es

20     b y r~f~~ence the allegations of other paragraphs e~f the pleading;

~l     as such, in response to this paragraph answering Defendant

22     incorporates by reference here this answering Defendan~'~ answers

23     tc~ each and every one of the cor~espond~.ng and aforementioned

24     allegations and paragraphs contained in Plaintiff's Complaint.

~' 5        59.   In answer tc~ Paragraph 5~, answering Defendant is

~6 I l witht~ut su~fici~nt 3cnowledge ar information t~ dorm a belief as to

27     the truth of all allegations contained in such paragraph, and on

2$


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             DEFENDANT AFtSHAVIR SHfi~DJIAN'S AN56JER; DEMP,ND FOR JURY TRIAL
     Case 2:17-cv-08580-JAK-SS Document 46 Filed 03/14/18 Page 12 of 19 Page ID #:306




 1     that basis, answering Defendant denies each and every allegation

2      contained in Fara~ra~h 59.

3           60.    Zn answer to Paragraph b0, answering Defendant is

4      wi~hou~ sufficient knowledge or information to form a belief as to

5      the truth of all allegations contained in such paragraph, and on

6      that basis, answering Defendant denies each and every allegation

 7     contained in ~dragraph 60.
            61.    In answer t~ Paragraph 61, answering Defendant is

 9     without su~~iaient kn~wle~ge or       nforma~i~n ~o form a belief as to

l~     the truth of all a~l~gations contained in such paragraph, and an

Il     that basis, ~~swe~ ng Defendant denies each and every allegation

12     ~antained in Paragraph 61.

13           62.   Tn answ~x to Paragraph 62, answering befendant is

14     without sufficient knowledge or information to foam a belief as to

15     the truth of X11 allegations contained ire such paragraph, and are

l fi   that basis, answering Defendant denies each and every allegation

17     contained in Paragraph 62.

18           63.   In answer to Paragraph 63, this paragraph inearporates

19     by reference the allegations of other paragraphs of the pleading;

20     '~ as such, in response to this paragraph answering Defendant

21 ~' incorporat~s by reference here this answering Defendant's answers

~z      to each and every one ~f the corresponding and. aforementioned

23      allegations ancd paragraphs contained in Plair~ti~~'s Complaint.

24           ~4.   In answer to ~'aragraph 64 is riot alleged agains~ this

25      answering Defendant and therefore this answering Defendant need

26      not admit nor deny the allegatit~ns contained in Paragraph 64.
~7           65.   In answer to Paragraph 65 is not alleged against th~.s

28      answering Defendant and therefore this answering Defendant need


                                           _ 12_
              DEFENDANT ARSHAVIR SHALDJIA~1' S ANSWER; DEMA~IB ~'OR J(7RY TRIAL
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 l     nod admit nor deny the aJ.legations contained in Paragraph. 65.

z           65.     In answer to paragraph 66 is note alleged against this

3      answering Defendant and t~ere~ore this answering I~~~endant named

4      riot ad~tit nor deny the allegations contained in Paragraph 66.

5                               FIRST AFFIRMATIVE DEFENSE

6           67.     As an affirmative d~f~nse, answering 13~fenclar~t a1l.eges

       that each ar~d every cause of action cc~nt~ined ire Flaint .ff's

 S     Cc~mpl.aint fails t4 state facts su~fcier~t to state a claim for

9 ~1 relief.

10 I                            SECQND AEFIFtMATIV'L~ DEFENSE

11          5$.     As an affirma~~v~ defense, answering De~endan~ alleges

l~     that ~'1.aint~~f's Camp~aint contains only subjective conclusions

13     regarding Defendant's alleged actions, and does not contain any

14     showing that answering Defendant violated any constitutional

15     right.

16                               THIRL7 AFFIRMATIVE DEFENSE

17          69.     As an affirm~tzve defense, ~nsw~r.ing Defendant alleges

18     that tP~e acts ac~ic~ns and ~c~nduc~
                                    c~      of the Piainti~£, other

19     Defendants, and/car third p~rtie~ directly ar~d prt~xi.mately caused

20     Plaintiff's injuries and/or damages, if any. Therefore, Plaa_ntiff

21     is not entitled to riamages or any other relief from answering

22     [Defendant.

23                              FOURTH AFE'IIt1+~iTIVE DEF~NS~

24          70.     As an affirmative defense, answering Defendant alleges

25     that the conduct, misconduct andlor negligence of Plaintiff caused

~fi    and contributed to any alleged cxamag~s which may nave been

27 ', sustained by Plaintiff, and by reason thereof, Plainti~~ should be

2$     barred from recovery, or in the alternative, should have any


                                               -13-
                DEF'ENDP►~]T ARSHAVIR SHALDJIAN' S ANSWER; DEMAND ~'OR JURY TRIAL
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 1   recovery diminished by the amount of percentage of that said.

2    conduct, misconduct ar negl.a.gence caused ~r contributed to the

3    alleged damages, should they }ae proven.

4                          FIFTH AFFIRI+lATIVE DEFENSE

5         71, As an affirmative defense, answering Defendant alleges

6    that if wrongful action did occux, it was not pursuant to any

7    malicious intent tc~ deprive any person of any Canstitutic~nal or

     1ega1 right or tc~ causes ~zay injury ~n the p~r~ o~ any ans~a~ring

9    Defendant and, therefor, answering Defendant is immune from

10   liability.

11                         SIXTH ~'EIRMATIVE DEF'LNSL

12        72. As an affirmative defense, answering Defendant alleges

13   qualified immunity, because Defendant's conduct did nat violate

14   clearly established statutory or const~utic~nal rights o~ which a

15 ( reasonable persfln would have known. If there was a violation,

1~   I3efendant i~ ~r~tected from liability under the doctrine of

17 '~ quaJ. Pied immunity because Defendant's conduct was reasonable

18   basted upon the information he possessed. He reasonable believed

19   •in good faith" that what he did was lawful and apprr~priate, and
     ,

20   relied upon information prr~vided to them. Moreover, they acted

Z1   under a reasonable, even if mistaken, belief ghat what they did

22   was re~sc~nabl.e, appropriate and lawful.

23                        SEVENTH AFEI~2MPi'T'IVE DEFENSE

24        73. As an affiranat.ive defense, answer~.ng Defendant alleges

25   that the acta.r~n is barred by the dactrine of res judicator.

26                         EIGHTH AFFIRMATIVE DErFENSE

27        74. As an affirmative defense Defendant alleges that

   '~ Pl.aintiff is barred from recovery herein in whale or in part, by
2$ [


                                        -19-
           DEFENDANT ARSHAVIR SHALnJIAN'S ANSWER; LEMAND FOR JURY TRIAL
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1 treason of failure to mitigate damages.

2                             NINTH AFFIRI+~i.TIVE DEFENSE

3           75. As an affirmative defense, answering Defendant alleges

     ( that Plaintiff's action is barred b~ reason of conduct, actions,

S     and inactions of Plaintiff, which amount to and constitute a

6     waiver of any right P1~intiff may or might have had in references

7     to the maters and things alleged in Plaintiff's Cojnplaint, or

8     that otherwise stop Plaintiff from recovery in this action,

9     includa.rzg but not limited to the dc~ctr n~ of unclean hands.

10                            TENTH A~"~"IRMATIVE DEFENSE

11          76. As an affirmative cle~ense, answering t~ef~:ndant alleges,

12 ~ plaint~.ff knew, appreciated, and understood each and every risk

13    involved in p3.acing him in the gc~s tion which he assumed, aid then

14     assumed the risk thereof end willingly, knowingly and voluntarily

15     assumed each c~~ such risks, including but not limited to, the risk

16     cif suffering personal. bodily injury and/or lawful deprivation of

17     right.(s).

18                           ELEVENTIi AFFIRI+~iTIV~: DEFENSL~

19           77. As an affir~raative defense, answering Defendant a~.leges

20 {that Plaintiff are barred and precluded from recovery fc~r any

21     lass, damage or injury alleged dram is answering Defendant in that

22     Plaintiff has not complied with Ca 1.i.fornia Government Codes S 910,

23     et seq-

2$                            TTr~LFTA AFEI      TIVE DEFENSE

25 I)        78~ As an affirmative defense answering Defendant alleges

26 ~ ~that at all times material hereto answering Defendant's officers

27 ~ ~acted in an abjectivel.y reasonable manner and is entitled to

28 (Iqualafied immunity as a defense to actions brought as civil rights


                                              -1.5-
              DEFENDANT ARSHAVIR SH.A~,DJ~AN' S ANSWER; DEMAND FOR Jt7RY TRIAL
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I Ivio~ations under 42 U.S.C. section 1983..
                            THIRTEEN9"8 AEFIRMATTVE DEFL~'NSE

3             79. As an affirmative defense answering Defendant alleges

4      that the force used against Plaintiff was caused and necessitated

5      b y the actions of plaintiff or others and was reasonable and

6      necessary fc~r se~,f-defense and/ar the defense of others.

7                           F'Q~TRTEEN'T'~ AFFZRMATIV~ DEFENSE

8             80. As an af~irma~ive defense answering Defendant alleges

9      that i.f it %s fQuncl that any Defendant is legally responsible for

1~     damages, if any, which Defendant sp c3.fically deny, then such

I1     dam~.g~s acre prvximatel~ caused by or contributed ~o by Plaintiff

12 ( ar others, whether served ter not, and it is necessary that the
13     proportic~na~e degree of fault cif every such person be determined

14 ' and prorated by the trier of fact, and. that any judgment which
1S     might be rendered against. any Defendants be reduced by that

16     percentage of fault to be found to exist of Plaintiff ar others

17     and ~ausativ~ fault, whether sued herein or nQt.

18                           FIFTEENTH AFFIRM,~~iTIVE DEFENSE

l9            81. A~ an affirmati.v~ defense answering b~~endant alleges

20     that i~efendant's actions are privileged pursuant to Civil Cade

21     X47.

~2                           SIXT~E1+iTH AFFIRMATIVE l7LFENSE

23            82. As an affirmative r~efense answerinr~ Defendant alleges

24     that Defendant is immune from       liability pursuant to the

25     provisians cif each of the following California statutes, each of

26     which is set forth as a separate and distinct af~irmativ~ defense:

~7     Government Code ~5 815.2, 815. b, 818, 818.8, 820.2, 82Q.4, 820.8,

28     822.2, 835, 845.8, 846, 850.8, 855.6, arzd 856.4.


                                             -16-
               DEE`ENDANT ARSHA~IIR SHALDJIAN'S ANSWER; DEMAI~ID FOR JURY TRIAL
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1                            RESERVATION QF AE'F'I~' I'U~ D~FENSFS

2           83. Seca           Pia r~~ i. f's Camplaa.n~ is                ruched ~n vague and

3     ct~ncl. scary tertn~, answering b~~'enda~t ~annc~t ~~a11y ~nti~~.p~te X11

4     aff~rrnative c efer~        s    fa t may Yee apps i~abl~ tc~ th .~ actit~n.

S     A~ct~rd ngly, anew r ng Defendant re                          vel the right tc~ a sort

6     add~~~car~a.l ~f~i .~m~-~t~.ve ~i       tense       if ~r~       to the extent ~h ~ such

7     aff~znativ~ de£~nes are applic~~l.e, ar~dlar tc~ withdrawal

$     af~r~ti~r        de~`~ns~       as r~a~y b       appr~pra.~te.

            WHEPtL~'Q~tE, an~werint~ Defendant pays as ~€~ilow~.

10           1. That ~'l.ai~ ~f~ ~~~~ n~~                rs~ b        h    x w           on;

11              That the ~c icon be dismissed;

l~           3, That answ~~nq De                ndan     b~ ~war~~d at~r~rney's fees ~nc~

I3              ~c~s~~ t~~ suit herea.nF an~i,

14           4. Thai answering D~fert~ant ~~ awarded ~~r                                 ~~h tither anal

15              fu~the       ~e~.     f as the ~caurt deems p ope and just.

16    Dated: March 14, 2(l 1 ~                                  `          i~'
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                                                                    ~~ F      .~--~-
17                                                        e..
I$                                                    ~rsl~.avi~ ~h~.~~jan,


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               I7EEEN~:1I1~;t~1°~ ~RS4-iA;4TIr`~ :'13%iI,I3~JIR1~' ~ A2~5WR: I7EMANIa FC)T~ JCJRY '.C`RTAL
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 1                              ~~ r•   r   ••

            Answering Defendant hereby makes a demand far a trial before

3      a jury on all issues presented in Plaintiff's Complaint that are

       car may be ~riab~e to a fury pursuant to E'ederal Riles of Ci~r~,l

5      Procedure, Rule 3$ (b) and all applicable Local Rules of the

6      United States District Court, Central District of California.

7

8      Dated: March 14, 201.8

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             DEFENDANT ARSHAVIR SHAZDJIAN'S ANSWER; DEMAND FOfZ JURY TRIAL
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 1.                               CERTIFICATE OF SERVICE

2            I, Hannah Garranza, am a citizen of the United Stags and am at
       least eighteen years of age. My business address is 2625 Townsgate Road,
3      Suite 330, Westlake Village, California 9136 . I am nod a party to the
4      abc~v~-cn~itled actir~n. I have cause service of DEFENDANT ARSHAVIR
       SHAL1?JIAN'S ANSWER; DEMAND FOR JURY TRIAL as ~oll~ws:
S
       Mi.eha~l Sian bevereux                         Counsel far Plaintiff
6      Wex Law Prafessic~nal legal Corporation
       1.Q~}0 Wilshire Boulevard Suite 2150
7      I~os Angeles, CA 90017
8      Christian R. Bajorquez                         Counsel fnr i3efendants City
       Las .F~zagele~ pity Attorney's Office          of Los Angers and Los
9                                                     Angels Police Departmen~C,
       City Half East Palice Li~igati~an
       200 North Main St~ee~ 6th Floor                and. Chief Charlie Beck
10
       LOS Allgele5 r CA 9(3{12
It
       ~elI.y N. Kadas                                Counsel for Defendants City
1~     Lc~s Angeles City Attorney's Uff ce            of I,os Angeles and Lns
       City Hall East Police Litigation               Angeles Police Department,
13     200 North Main Street 6th Floor                and Chief Charlie Beck
       Zos Angeles, CA 9001.2
14
        Laura E. Znlow                                CounsQl for Defendants
15                                                    Officer Hector Cortez and
        Collinsr~n Law PC
        21515 Hawthorne Bc~ulevarci Suite 80U         officer Daniel Hughes
16
        Torrance, CA 9f1503
17
        X    BY MAIL AS FOI,~,OWS: I placed a sealed envelope containing a copy
18           of the above documents) at 2625 Tawnsgate 12oad, Suite 330,
             Westlake Village, CA 91361 fog co~.lection and. mailing with the
19           U nited States Postal Sery ee. I am readily familiar with the
             firm's prac~~ce for cr~llecting and processing correspandence for
20           mailing. Under that practice, it is deposited with the U.S. Postal
21           Sc~vice on that same day with postage thereon fully prepaid in the
             ordinary course of business. I am aware that on motion of the
z2           party served, service is presumed invalid if postal cancellation
             date or pos~ag~ meter date is more than one day after the date far
23           mailing in affidavit.

~4           I declare under penalty of perjury under ~Che laws of the United
        States of America that the foregoing is true and correct.
25

~~                                                      l~~      ~
        Executed on march 24, 201..8,
                                                       Hannah Carranza
27
28

                                              -19-
               nEEENDAAIT ARSHA~IIR SHAI~DJIAN` S ANSWER; DEMAND FQR JURY TE2IAL
